               Case 15-00078    Doc 58   Filed 09/01/16   Page 1 of 3



             IN THE UNITED STATES BANKRUPTCY COURT FOR
                      THE DISTRICT OF MARYLAND
                            Baltimore Division

_________________________________________
IN RE:                                    )
PARVIS NAFFIS AND VICKY NAFFIS            )        Chapter 7
            Debtor                        )        Case No.: 14-28711
                                          )
_________________________________________ )
PARVIS NAFFIS                             )
            Plaintiff                     )
                                          )
Vs.                                       )        Adversary Case No.: 15-00078
                                          )
                                          )
 THE DEPARTMENT OF EDUCATION,             )
 Et al                                    )
                                          )
            Defendant                     )
_________________________________________ )

          AFFIDAVIT OF SERVICE OF SUMMONS AND COMPLAINT

      WILL THE CLERK OF THE COURT, please note that Plaintiff has served

United States Department of Education (“Defendant”), pursuant to Federal Rule of

Bankruptcy Procedure 7004, via first class mail postage prepaid, on this 1st day of

September, 2016, to:

PURSUANT TO 34 C.F.R. § 4.1
United States Department of Education
Attention: James Cole, Jr., General Counsel
400 Maryland Avenue, SW
Washington, DC 20202

WITH COPY OF SERVICE ON:
United States Attorney’s Office
Attention: Rod J. Rosenstein, Attorney General
36 S. Charles Street, 4th Floor
Baltimore, Maryland 21201

Attorney General of the United States
             Case 15-00078    Doc 58   Filed 09/01/16   Page 2 of 3



Attention: Loretta Lynch
950 Pennsylvania Avenue, NW
Room B-103
Washington, DC 20530


                                   Respectfully Submitted,

                                   /s/ Kim Parker/s/
                                   ___________________________
                                   KIM PARKER, ESQ. (BAR#23894)
                                   LAW OFFICES OF KIM PARKER, P.A.
                                   2123 Maryland Avenue
                                   Baltimore, Maryland 21218
                                   410-234-2621
                                   F: 410-234-2612
                                   E. kp@kimparkerlaw.com
               Case 15-00078   Doc 58   Filed 09/01/16   Page 3 of 3



                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 1ST day of September, 2016, Affidavit of
Service, was mailed first class mail, postage prepaid to:

SARAH MARQUARDT, ESQUIRE
Counsel to U.S. Department of Educations
Sarah.Marquardt@usdoj.gov
Courtesy Copy Via Email

United States Department of Education
Attention: James Cole, Jr., General Counsel
400 Maryland Avenue, SW
Washington, DC 20202

RICHARD GOLDBERG, ESQUIRE
ANASTASIA MCCUSKER, ESQUIRE
Via ECF Filing

RICHARD BENENSON, ESQUIRE
Via ECF Filing



                                      /s/ Kim Parker/s/
                                      ___________________________
                                      KIM PARKER
                                      COUNSEL FOR PLAINTIFF
